       Case 2:10-cv-01061-SRB Document 1297 Filed 09/15/16 Page 1 of 6



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                           UNITED STATES DISTRICT COURT
17
                            FOR THE DISTRICT OF ARIZONA
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19
     Valle del Sol, et al.,                  Case No. CV-10-01061-PHX-SRB
20
                    Plaintiffs,
21                                           JOINT CASE DISPOSITION
            vs.
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     Michael B. Whiting, et al.
23
                    Defendants,
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            and
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     Doug Ducey, et al.,
26
                    Intervenor Defendants.
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     Case 2:10-cv-01061-SRB Document 1297 Filed 09/15/16 Page 2 of 6



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      Case 2:10-cv-01061-SRB Document 1297 Filed 09/15/16 Page 4 of 6



 1         Plaintiffs and Intervenor Defendants have conferred regarding the outstanding
 2 matters in this case and have reached agreement on a proposed disposition of the case. In
 3 the interest of the efficient resolution of this case, the Parties make the following
 4 representations and request that the Court enter the proposed final order.
 5         The Parties have stipulated and agreed to resolve Valle del Sol v. Whiting, No. CV
 6 10-1061-PHX-SRB on the following terms:
 7         First, as part of its agreement with Plaintiffs, Intervenor Defendants will issue the
 8 attached Informal Attorney General Opinion, which provides guidelines on the
 9 implementation of Senate Bill 1070’s Section 2(b) and 2(d), among other sections. The
10 Informal Attorney General Opinion reflects the State’s interpretation of legal requirements
11 and limitations for implementing Section 2(b) and 2(d). The Informal Attorney General
12 Opinion is attached as Exhibit A.
13         Second, both parties stipulate that A.R.S. §§ 28-3511A (1)(d) and (e) should be
14 enjoined, and ask this Court to enjoin those provisions. These are impoundment
15 provisions that apply when there is a predicate offense under the “harboring,”
16 “transporting,” or “concealing” provisions codified at A.R.S. 13-2929, which have been
17 enjoined in this litigation and a related case. See Valle del Sol v. Whiting, No. CV 10-
18 1061-PHX-SRB, 2012 WL 8021265 (D. Ariz. Sept. 5, 2012) (preliminary injunction);
19 Valle del Sol Inc. v. Whiting, 732 F.3d 1006 (9th Cir. 2013) (affirming preliminary
20 injunction); United States v. Arizona, No. 2:10-cv-014013-SRB at Docket No. 200
21 (permanent injunction). Thus, because there is no legal basis to enforce A.R.S. §§ 28-
22 3511A(1)(d) and (e), the Parties stipulate that A.R.S. §§ 28-3511A(1)(d) and (e) should be
23 permanently enjoined because it is unconstitutional.
24         Third, the Plaintiffs further settle any claim they have for attorneys’ fees and costs
25 related to this case, No. CV 10-1061-PHX-SRB, and all of its appeals for the sum of $1.4
26 million. Intervenor Defendants agree to pay $1.4 million to Plaintiffs’ Counsel to resolve
27 any liability for attorneys’ fees and costs from this case, No. CV 10-1061-PHX-SRB, and
28 all of its appeals.


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      Case 2:10-cv-01061-SRB Document 1297 Filed 09/15/16 Page 5 of 6



 1          Fourth, upon approval by the Court of the proposed order filed herewith and the
 2 terms agreed to by the Parties, the Parties will not further challenge the Court’s ruling at
 3 Docket No. 1285 or any other rulings in this litigation. See the Parties’ joint request for
 4 dismissal without prejudice filed with the Ninth Circuit attached as Ex. B.
 5
 6          RESPECTFULLY SUBMITTED this 15th day of September, 2016.
 7
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     Case 2:10-cv-01061-SRB Document 1297 Filed 09/15/16 Page 6 of 6



1                                CERTIFICATE OF SERVICE
2         I hereby certify that on September 15, 2016, I electronically transmitted the
3 foregoing Joint Case Disposition and any attached proposed order and exhibits to the
4 Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of
5 Electronic Filing to all ECF registrants in this matter.
6
7 DATED: September 15, 2016
8                                          /s/ Marco A. Gomez
9                                          Marco A. Gomez

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